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UNITED STATES OF AMERICA,

Plaintiff,

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)
)
vs. ) No. 05-10004_T_An
)
MARY CHRISTINE GREEN, )
)
)

Defendant.

 

ORDER DENYING MOTION TO RECONSIDER
ORDER DENYING MOTION TO RETAIN PSYCHOLOGIST

 

Defendant has moved the court to reconsider its prior order denying her motion for
a psychological evaluation prior to her sentencing hearing. In its previous order, the court
acknowledged that it may consider evidence of Defendant’s alleged drug and alcohol abuse
and depression under United States v. Booker, 125 S.Ct. 738 (2005), to determine an
appropriate Sentence but noted that, because the presentence report will detail Defendant’s
mental health history, testimony from a psychologist is not necessary. In her motion to
reconsider, Defendant argues that the presentence report Will not adequately detail her
mental health history and its impact on her such that the court Will be able to evaluate
properly all the statutory factors applicable to sentencing Defendant has not convinced the
court that its prior ruling Was in error.

Defendant Will be able to present evidence concerning her mental health at her

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sentencing to supplement the information in the presentence report. However, if at any point
during the sentencing, it appears that the court needs expert testimony to assist in evaluating
the evidence as it relates to the sentencing factors, the hearing can be adjourned until the
services of an expert can be retained.

Accordingly, Defendant’s motion to reconsider is DENIED.

IT IS SO ORDERED.

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DATE

 

ISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case l:05-CR-10004 vvas distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

